              Case 2:23-cv-00755-RSL Document 7 Filed 05/26/23 Page 1 of 5



1    Andrew G. Watters
     555 Twin Dolphin Drive, Ste. 135
2
     Redwood City, CA 94065
3    (415) 261-8527
     andrew@andrewwatters.com
4
     Pro se
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8                           UNITED STATES DISTRICT COURT FOR THE
9
                                WESTERN DISTRICT OF WASHINGTON
10

11

12   ANDREW G. WATTERS,                          Case No.: 2:23-cv-00755-RSL

13                 Plaintiff,

14   vs.                                         PLAINTIFF’S VERIFIED RESPONSE TO
                                                 ORDER TO SHOW CAUSE
15
     MAHSA PARVIZ,
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                   Defendant.
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                                          2:23-CV-00755-RSL
                      PLAINTIFF’S VERIFIED RESPONSE TO ORDER TO SHOW CAUSE
               Case 2:23-cv-00755-RSL Document 7 Filed 05/26/23 Page 2 of 5



1      I.   Introduction
2
            Plaintiff Andrew Watters (“Plaintiff”) filed his Complaint in this matter on May 19,
3
     2023. Plaintiff has been ordered to show cause why this matter should not be dismissed for
4
     having failed to “provide evidence establishing that it is more likely than not that the amount in
5

6    controversy exceeds” $75,000. Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699 (9th Cir.

7    2007). Subsequently, Plaintiff filed a Verified First Amended Complaint stating a cause of action
8
     for computer fraud under 18 U.S.C. sec. 1030, which is a Federal crime with a private right of
9
     action for damages and injunctive relief under 1030(g). Plaintiff’s Verified First Amended
10
     Complaint shows that this court has subject matter jurisdiction over the matter, whether premised
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12   on a Federal Question or Diversity of Citizenship. No material facts were changed in the

13   amended complaint; the new seventh cause of action for computer fraud was added based on the
14
     same facts, and the Verified First Amended Complaint provides the evidentiary support
15
     necessary to oppose the Order to Show Cause.
16
            Because this court has subject matter jurisdiction over this matter, Plaintiff’s Complaint,
17

18   and subsequent First Amended Complaint is properly before this court.

19    II.   Argument
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         A. Legal Standard
21
            “The district courts shall have original jurisdiction of all civil actions arising under the
22
     Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.
23

24          “To satisfy the requirements for federal diversity jurisdiction under 28 U.S.C. § 1332(a),

25   "a plaintiff must claim, among other things, that the amount in controversy exceeds $75,000." "A
26
     plaintiff satisfies the amount in controversy requirement by claiming a sufficient sum in good
27
     faith."” Giovanno v. Fabec (11th Cir. 2015) 804 F.3d 1361, 1365 (internal citations omitted).
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                                           2:23-CV-00755-RSL
                       PLAINTIFF’S VERIFIED RESPONSE TO ORDER TO SHOW CAUSE
                Case 2:23-cv-00755-RSL Document 7 Filed 05/26/23 Page 3 of 5



1    The amount in controversy requirement may be met by aggregating a single plaintiff's claims
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     against a single defendant. Gibson v. Chrysler Corp. (9th Cir. 2001) 261 F.3d 927, 943. It is well
3
     established that punitive damages are part of the amount in controversy in a civil action
4
     (Gibson v. Chrysler Corp. (9th Cir. 2001) 261 F.3d 927, 945.)
5

6       B. This Court Has Subject Matter Jurisdiction Based on a Federal Question

7           Shortly after the OSC Notice, Plaintiff amended his Complaint, as is his right under Rule
8
     15(a). The Verified First Amended Complaint states a cause of action for computer fraud under
9
     18 U.S.C. sec. 1030, which is a Federal crime with an expressly stated private right of action in
10
     1030(g). See, e.g., Skyhop Techs., Inc. v. Narra, 58 F.4th 1211 (11th Cir. 2023) (discussing
11

12   private right of action in email-based extortion scheme).

13      Here, the amended complaint discusses the specifics and provides two counts in the new
14
     seventh cause of action, both being violations of the statute and both creating a private right of
15
     action. The first count deals with Defendant’s effort to extort Plaintiff, which is itself a violation
16
     of 1030(a)(7). The second count deals with her fake Harvard web pages under 1030(a)(4), which
17

18   caused Plaintiff loss above the statutory minimum of $5,000.00. There are no additions,

19   subtractions, or changes to the underlying material facts from the original Verified Complaint;
20
     the Verified First Amended Complaint merely adds an appropriate legal theory of recovery that
21
     Plaintiff inadvertently omitted from the original complaint. This Court has subject matter
22
     jurisdiction based on a Federal Question pursuant to 18 U.S.C. sec. 1030(g), which permits civil
23

24   actions for damages and injunctive relief against persons committing fraud with computers.

25      C. Plaintiff Has Met the Amount In Controversy For Diversity Jurisdiction
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            Here, Plaintiff’s good faith allegation as to the special damages caused by Defendant’s
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     fraud amounts to not less than $10,000. This accounts for the funds wrongfully obtained by
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                                           2:23-CV-00755-RSL
                       PLAINTIFF’S VERIFIED RESPONSE TO ORDER TO SHOW CAUSE
                Case 2:23-cv-00755-RSL Document 7 Filed 05/26/23 Page 4 of 5



1    Defendant based on her fraudulent representations to Plaintiff. Plaintiff’s good faith allegation as
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     to the special damages caused by Defendant’s fraud is not less than $10,000.
3
             Plaintiff has also alleged general damages for the causes of action. California law
4
     prohibits Plaintiff from specifying the amount of his general damages in the complaint due to the
5

6    extortion and fraud claims, both of which resulted in emotional distress. Cal. Code of Civil

7    Procedure sec. 425.10(b). The amount is calculated based on the emotional damages Plaintiff
8
     suffered that are caused by Defendant’s fraud and extortion, which certainly exceeds $75,000.00.
9
     On account of Defendant’s willful and continued harassment of Plaintiff, through her extortion
10
     attempts to get Plaintiff to participate in her illegal schemes, Plaintiff’s sum of general damages
11

12   is at least $75,000.

13           Due to the harm done to Plaintiff by Defendant, and to punish Defendant for her illegal
14
     conduct and persistent harassment of Plaintiff, Plaintiff’s good faith calculation of punitive
15
     damages is in the amount of $100,000.
16
             Plaintiff’s good faith sum of damages here is at least $185,000 not including attorney
17

18   fees, interest, or costs. The amount in controversy is met for diversity jurisdiction purposes.

19   III.    Conclusion
20
             For the foregoing reasons, this court has subject matter jurisdiction over this matter.
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     Additionally, Plaintiff has met the amount of controversy requirement and satisfied jurisdictional
22
     requirements.
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24

25   Dated: May 25, 2023
26
                                                        Andrew G. Watters
27                                                      Pro se

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                                            2:23-CV-00755-RSL
                        PLAINTIFF’S VERIFIED RESPONSE TO ORDER TO SHOW CAUSE
                    Case 2:23-cv-00755-RSL Document 7 Filed 05/26/23 Page 5 of 5



1                                                     VERIFICATION
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3
                       I, Andrew G. Watters, certify:
4
                       I have read the foregoing response to the Court’s Order to Show Cause.
5
                       The facts therein stated are true of my own personal knowledge, except on matters stated on
6
     information and belief, in which case I believe they are true.
7
                       I declare under penalty of perjury under the laws of the State of California that the foregoing is true
8
     and correct.
9
                       Executed May 26, 2023 in Redwood City, California.
10

11
                       _________________________
12
                       Andrew G. Watters
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